Case 3:20-cv-00250-BJD-JBT Document 27 Filed 10/07/21 Page 1 of 2 PagelD 106

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JOEY LEE NIX,

Plaintiff,
vs. CASE NO.: 3:20-cv-00250-BJD-JBT
CSX TRANSPORTATION, INC.

Defendant.
/

MEDIATOR’S REPORT

In accordance with the Court’s mediation order and Notice of Mediation
Conference, a mediation conference was held on March 15, 2021, and the results of that
conference are indicated below:

(a) The following individuals, parties, corporate representatives, and/or claims
professionals attended and participated in the mediation conference, and each
possessed the requisite settlement authority:

All individual parties and their respective trial counsel.
Designated corporate representatives.
Required claims professionals.
(b) The following individuals, parties, corporate representatives, and/or claims

professionals failed to appear and/or participate as ordered:

Case 3:20-cv-00250-BJD-JBT Document 27 Filed 10/07/21 Page 2 of 2 PagelD 107

(c) The outcome of the mediation conference was:

The case has been completely settled. In accordance with Local Rule
9.06(b), lead counsel will promptly notify the Court of settlement in
accordance with Local Rule 3.08.

The case has been partially resolved and lead counsel has been
instructed to file herein a joint stipulation regarding those claims
which have been resolved within ten (10) days. The following issues
remain for the Court to resolve:

The conference was continued with the consent of all parties and
counsel. Mediation Reports will be filed after additional conferences
are complete.

\y The parties have reached an impasse.

Done this PE Ober 202A Sacks

‘Jacksonville, Florida.

TERRANCE E. SCHMIDT, MEDIATOR
Florida Bar No.: 165042

Certification No.: 6667R

5901 Riverside Avenue, Suite 903
Jacksonville, FL 32202

Telephone: 904/398-1818

Facsimile: 904/398-7073

